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                       IN THE UNITED STATES DISTRICT COURT                                      f
                          FOR THE DISTRICT OF DELAWARE                                          !

SAUNDRA M. FLOYD; CANDYSS C. WHITE;
STEVEN R. FLOYD, JR.; CHYVANTE E.
FLOYD; RACHEL ANN POWELL as Personal
Representative of the Estate of LIEUTENANT
STEVEN R. FLOYD, SR.; CORRECTIONAL
OFFICER WINSLOW H. SMITH;
CORRECTIONAL OFFICER JOSHUA
WILKINSON; CORPORAL JUSTIN
TUXWARD; CORPORAL MATTHEW
MCCALL; and CORPORAL OWEN
HAMMOND,

         Plaintiffs,

v.
                                                     : C.A. No. 17-431-RGA
JACK MARKELL, individually; RUTH ANN                 : Jury Trial Demanded
MINNER, individually; STANLEY W.
TAYLOR, JR., individually; THE
HONORABLE CARL C. DANBERG,
individually; ROBERT COUPE, individually;
ANN VISALLI, individually; BRIAN
MAXWELL, individually; PERRY PHELPS, in
his official capacity; MICHAEL S. JACKSON,
in his official capacity; and DEPARTMENT OF
CORRECTION, STATE OF DELAWARE,

         Defendants.


              STIPULATION AND ORDER OF PARTIAL STAY OF DISCOVERY

          WHEREAS, on April 18, 2017, Plaintiffs filed this action against Jack Markell, Ruth

Ann Minner, Stanley W. Taylor, the Honorable Carl C. Danberg, Robert Coupe, Ann Visalli,

Brian Maxwell, Perry Phelps, Michael S. Jackson, and the Department of Correction, State of

Delaware (collectively, "Defendants") (with "Plaintiffs," the "Parties"); and

          WHEREAS, on June 30, 2017, Defendants filed motions to dismiss the Complaint;




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         WHEREAS, briefing on Defendants' motions to dismiss will be completed by September

27,2017;

         WHEREAS, Defendants and Plaintiffs have conferred regarding the scope of discovery

that should occur pending Defendants' motions to dismiss and have agreed, subject to the

approval of the Court, to stay discovery with the exception of document discovery to third parties

dealing exclusively with damages; It is further understood that by agreeing to this stipulated

Order, Plaintiffs are not waiving or otherwise abandoning the request they made in the 8/27/17

Stephen J. Neuberger Rule 56(d) affidavit, attached to Plaintiffs' August 28, 2017 Answering

Brief in Opposition to the Defendants' Motion to Dismiss, which Defendants oppose.

Notwithstanding the above, the parties agree that discovery shall be limited to the third party

document discovery specifically identified herein subject to further order by the Court;

         NOW THEREFORE IT IS HEREBY STIPULATED AND AGREED, by and between

Plaintiffs and Defendants, through their undersigned counsel and subject to the approval of the

Court, that discovery in this litigation is hereby stayed pending resolution of Defendants'

motions to dismiss with the limited exception that document discovery directed to third parties,

such as health care providers, employers and educational institutions, dealing exclusively with

damages, and not liability, may proceed.




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JACOBS & CRUMPLAR, P.A.

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                                              RICHARDS LAYTON & FINGER, P.A.

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Dated: September 8, 2017
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                                              Ann Minner, Ann Visalli, Brian Maxwell, and
                                              Michael S. Jackson


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                                              Counsel for Defendants Stanley W Taylor, Jr.,
                                              The Honorable Carl C. Danberg, Robert
                                              Coupe, Perry Phelps, and Department of
                                              Correction of the State of Delaware


SO ORDERED this     jJ_ day of   fert ·       '2017.




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